  Case 2:05-cr-00243-LMA-JCW   Document 416   Filed 08/26/08   Page 1 of 6




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA            CRIMINAL    ACTION:        05-243

versus                              SECTION: "I"

RUSSELL WHITTINGTON


                           ORDER AND REASONS


          Before the Court is defendant’s, Russell Whittington’s,

motion to vacate, set aside or correct his sentence pursuant to 28

U.S.C. §2255.   For the following reasons, Whittington’s motion is

DENIED and the above-captioned case is DISMISSED with prejudice.



                               BACKGROUND

          On August 5, 2005, Russell Whittington (“Whittington”)

was indicted by a federal grand jury for conspiracy to distribute

and to possess with intent to distribute fifty grams or more of

cocaine base and five kilograms or more of cocaine hydrochloride in

violation of the United States Code.           At his July 13, 2006,
   Case 2:05-cr-00243-LMA-JCW       Document 416      Filed 08/26/08   Page 2 of 6




rearraignment, Whittington pled guilty as charged, although he did

not enter into any plea agreement with the government.

             During his rearraignment, Whittington signed a factual

basis which was read and filed into the record.                    In that factual

basis, Whittington agreed that he entered into an agreement with

others to distribute and to possess with intent to distribute a

total of fifteen, but less than fifty, kilograms of cocaine

hydrochloride for further distribution to others and in furtherance

of the charged conspiracy.          On April 12, 2007, the Court sentenced

Whittington to a term of 87 months imprisonment after which he

would be placed on supervised release for five years.1

             On January 22, 2008, Whittington filed this motion to set

aside   or   correct     his   sentence       pursuant   to   28    U.S.C.    §2255.

Whittington contends that the government failed to abide by an

agreement to file a motion to reduce his sentence pursuant to Rule

35(b) of the Federal Rules of Criminal Procedure. Whittington also


             1
              Because Whittington was safety valve eligible, he was not subject to the
mandatory minimum sentence of ten years.

                                          2
  Case 2:05-cr-00243-LMA-JCW        Document 416      Filed 08/26/08   Page 3 of 6




claims that he is entitled to a sentence reduction pursuant to the

retroactive amendments to the crack cocaine guidelines promulgated

by the U.S. Sentencing Commission.

          On March 25, 2008, this Court denied Whittington’s motion

for a sentence reduction pursuant to 18 U.S.C. §3582(c)(2) as his

sentencing guidelines were based on cocaine hydrochloride and not

crack cocaine.2

          Rule 35(b)(1) of the Federal Rules of Criminal Procedure
states:
          (b) Reducing a Sentence for Substantial
          Assistance.
          (1) In General. Upon the government’s motion
          made within one year of sentencing, the court
          may reduce a sentence if the defendant, after
          sentencing, provided substantial assistance in
          investigating or prosecuting another person.


          As the Fifth Circuit stated in United States v. Grant,

493 F.3d 464 (2007) (citations and footnote omitted):

          The government is under no obligation to file
          a Rule 35(b), despite whatever substantial
          assistance a defendant might give.        The


          2
              A review of the presentence investigation report confirms that fact.

                                          3
   Case 2:05-cr-00243-LMA-JCW        Document 416     Filed 08/26/08   Page 4 of 6




             government’s refusal to file a Rule 35(b)
             motion is not reviewable unless that refusal
             was based on an unconstitutional motive, such
             as race or religion,3 or where the government
             has “bargain[ed] away” its discretion.

             “The mere claim that a defendant provided substantial

assistance does not warrant a remedy, and general allegations of

improper motive are insufficient to establish a constitutional

violation.”        United States v. Hollis, 78 Fed.Appx. 433, 2003 WL

22409523 (5th Cir. 2003) (per curiam). Whittington has no right to

an evidentiary hearing unless he makes a “substantial threshold

showing.” Id.

                 As Whittington had no plea agreement, the Court cannot

review    specific     plea   agreement       language   in    order     to   address

Whittington’s       claim.      In   support     of   his     argument    that    the

government broke its promise, Whittington submits a February 13,

2007, letter from the Assistant U.S. Attorney to the Court which

documents the defendant’s cooperation.              The letter recommends that


             3
              Whittington does not argue that the government’s refusal was based on an
unconstitutional motive. Therefore, the Court does not address that issue.

                                          4
  Case 2:05-cr-00243-LMA-JCW         Document 416       Filed 08/26/08      Page 5 of 6




the   defendant      be   sentenced      at     the   bottom    of    his    applicable

sentencing guideline range, but it also notes that the government

evaluated Whittington’s cooperation and determined that it did not

constitute “substantial assistance” warranting the filing of a

government motion to depart from the guideline sentencing range.

           The letter from the government is not a promise to

request a downward departure pursuant to Rule 35(b).                        Whittington

does not sufficiently assert any other basis for an agreement or

promise with the government.             In fact, during his rearraignment,

Whittington specifically denied that anyone had made any promise or

prediction,       other     than    rough       estimates      of    the     sentencing

guidelines, as to what his sentence would be.4                       Accordingly, the

Court   finds     that    the    government       did   not    “bargain      away”    its

discretion to move for a downward departure.                   As the U.S. Supreme

Court noted in Wade v. United States, 504 U.S. 181, 112 S.Ct. 1840,

118 L.Ed.2d 524 (1992), although a showing of assistance is a



           4
               Rearraignment transcript, July 13, 2006, at p.31.

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  Case 2:05-cr-00243-LMA-JCW     Document 416      Filed 08/26/08    Page 6 of 6




necessary condition for petitioner to obtain relief, it is not a

sufficient one.     See Wade, 504 U.S. at 187, 112 S.Ct. at 1844.

           Whittington     has     failed     to    demonstrate        that    the

government’s refusal to file a Rule 35(b) motion was not rationally

related   to   a   legitimate    government     end,   that    the    government

bargained away its discretion, or that the government’s refusal was

based on an unconstitutional motive.               Whittington’s motion for

post-conviction relief is DENIED and the above-captioned case is

DISMISSED WITH PREJUDICE.

           New Orleans, Louisiana, this 25th day of August, 2008.




                                          LANCE M. AFRICK
                                          UNITED STATES DISTRICT JUDGE




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